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       OVERDRAFT PROTECTION
       A GUIDE FOR BANKERS

       Opinions abound about overdraft services – those formalized systems handling
       Non Sufficient Funds (NSFs) presented on a customer’s account. Nessa Feddis,
       Senior Federal Counsel of the ABA, offers her insights in a recent article stating
       “the basics of bounce protection are sound.”1 At the same time, the Consumer
       Federation of America asserts that financial organizations are deliberately entic-
       ing consumers to write bad checks.2 Vendors of overdraft programs extol their
       “customer-oriented” virtues, while the news media present overdraft users as
       pictures of despair. CEOs of some financial organizations tout the benefits to
       their customers, while others disparage the practice. Some banking organiza-
       tions sign deals with vendors to endorse the programs, while a few publish neg-
       ative opinions about them.

       With this wide range of opinions, it is no wonder that many, inside the industry
       and out, question the practice and/or the methods of overdraft services. As a
       financial executive, how are you to approach overdraft services in order to best
       serve your customers, shareholders, and the public welfare?

       Offering an overdraft protection program is a decision unique to each executive
       and organization. However, sometimes lost in the heat of the debate is the clar-
       ity created from a common set of facts. Concerns and fears grow in the
       absence of facts. Legitimate questions exist about overdraft services, and they
       deserve an analytical answer. Why has the overdraft issue arisen so fervently
       now and not 20 years ago? What are the benefits or reasons for a formalized
       overdraft program at your financial institution? What are the regulatory com-
       pliance components? What are recommended best practices, and what prac-
       tices should be more cautiously considered or even avoided? Furthermore,
       concerns of the media and consumer groups alike have made it clear that there
       are definitely potential risks associated with overdraft programs, in the event
       the bank makes a mistake or “over-reaches” in the implementation.

       Before making a decision, each bank should review any program being consid-
       ered with a critical eye towards what is “right” for the customer and the bank.
       We hope that this guide will equip you with the background and knowledge
       you need to make the right decision for your bank.

                      1
                       Nessa Eileen Feddis, “Will We Kill a Useful Service?” ABA Banking Journal, April 2003, 42.
                      2
                       Consumer Federation of America and National Consumer Law Center, “Bounce Protection: How Banks
       Page   7       Turn Rubber into Gold by Enticing Consumers to Write Bad Checks,” 27 Jan. 2003,
                      <http://www.consumerfed.org/bounceappendix012803.pdf> (17 September 2003), Section 6.
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       The Origins of the “Late Payment” Choice

       Overall, consumer perceptions about debt and late payments are changing. A
       few years ago, some consumers counted on “float” to carry them through times
       when they might have been low on funds between paychecks. Over the past
       few years, float has been considerably decreased due to improved automation of
       processing systems, the increased usage of Internet banking, and the require-
       ments of the Expedited Funds Availability Act. The increased time to clear a
       check that so many counted on before is no longer there.

       Currently, on most of the bills that consumers pay on a monthly basis, the
       recipient is given the opportunity to pay the bill on time for one amount and
       late for a different (higher) amount. Consumers who choose to utilize the late
       payment option are aware of the late fee they will pay for this service. While
       one could certainly argue that this is financially imprudent, it is a choice that
       many make on a monthly basis.

       Utility companies such as phone, gas, water, cable, and electric providers made
       this adjustment towards late payments in their policies in the 1990s. Prior to
       their change in approach, these industries often faced customer and public pol-
       icy embarrassments when they discontinued service due to lack of payment. In
       order to meet customers’ payment needs, they changed their approach, finding
       ways to serve customers who happened to be strapped for cash between pay-
       checks. Below is a sample disclosure statement from a utility company that
       allows customers to pay their bills at a later date for an additional charge.



                             Sample Water Utility Policy Statement

         Payments:
         Utility payments are due by the 15th of the month.
         Utility payments can be deposited in the drop slot located in the door of the City Office.

         Late Payments:
         Payments received after the 15th of the month are considered late.
         A late charge of $25.00 will be added to any bill not paid by the 15th.

         Disconnect:
         Utilities will be disconnected if payment is not received by the last day of the month.

         Reconnect fee is $25.00.




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       To address customer needs, vendors today supply what is now well recognized
       by consumers: an invoice, similar to the one above, which offers one payment
       if paid by a certain date, and a higher amount if paid by a later date. In defin-
       ing why customers paid late fees, one utility study found that a significant seg-
       ment did so even though they have sufficient financial resources.3

       Bankers may want to consider the way they communicate with their customers
       regarding overdrawn accounts. Compare the sample utility bill referenced
       above with the method financial institutions commonly use to communicate
       with their customers. Non-bank companies typically inform the consumer of
       their methods of handling their account in the event the consumer does not
       meet their obligations on time, and they communicate the fee associated with
       this. They do not actively entice customers to pay their bills late, but they
       communicate how the account will be handled should the consumer pay late.
       Contrast this with the communication sent out by the bank. When an item is
       presented to an account with insufficient funds to pay the check, the bank gen-
       erally sends out a terse notice indicating that the customer did not have the
       funds in their account to cover the check. The communication usually indi-
       cates that, although the bank may have paid the check, the practice of falling
       below the minimum balance in the account is not something the bank encour-
       ages.

       The New Dynamics of Checking Accounts and Customer
       Communication

       As new payment options have flourished over the past several years, the meth-
       ods and means in which consumers use checking accounts have also changed.
       Rather than having only checks flow through their checking account, con-
       sumers now have many ways to access their funds, such as Internet access,
       ATM access, etc.

       A by-product of having multiple delivery channels is that consumers now need
       better, more specific communication from financial institutions regarding use of
       these accounts. Financial institutions should be aware that in regard to con-
       sumers’ attitudes toward late payments, the environment is changing. Banks
       need to be able to clearly articulate polices so that consumers can make


                      3
                       Roger D. Colton, “Determining the Cost Effectiveness of Utility Late Payment Charges,” July 1994,
                      http://www.fsconline.com/downloads/LATE-FEE.pdf (17 September 2003).
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       informed decisions as well as understand the bank’s policy regarding NSF fees
       when a customer mistakenly overdraws.

       The Dilemma

       Many bankers believe that a response that discourages overdrafts is the accepted
       course of action. They believe that overdrafting a checking account is simply
       “wrong.” They believe that banks should actively discourage overdrafts and they
       view NSF fees as “punitive” fees that are designed to discourage the activity.

       Other bankers believe that most of their customers are good customers that will
       ultimately clear up their accounts, and that paying an insufficient item is better
       for the customer than returning it. While not encouraging overdrafts, these
       bankers believe that they are actually helping their customers avoid other fees
       and providing them a valuable service when they pay overdrawn items.

       Which view is appropriate? Or more precisely, which view is
       appropriate for your bank?

       In many cases, these two views are not mutually exclusive. Bankers do not
       want to actively encourage overdrafts, but they do want to provide good cus-
       tomer service whenever and wherever prudent.



       HOW FORMALIZED OVERDRAFT
       PROTECTION PROGRAMS WORK

       The first question you might ask is, “How do these programs work?” An exam-
       ple may help illustrate the programs’ underlying concepts.

           John Smith is a customer at ABC Bank. John sits down to pay his bills on the
           9th of the month. He gets to his credit card bill and he notices that the pay-
           ment is due on the 15th, or he can wait and pay it on the 1st of the following
           month, in which case he will be charged a $36 late fee. He decides to wait and
           pay the credit card bill late because he has an unexpected emergency expense
           that he needs to pay immediately. John understands “the deal” with the credit
           card company – they have communicated this to him with every bill. John



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           understands that he will incur the late fee, but in spite of this, he makes the
           decision to defer the payment.

           John isn’t sure how ABC Bank would generally handle it if he were to present
           an NSF check. In the past he has presented checks that were paid when funds
           were not available, but he has also presented some that were returned. The
           bank’s communication in both cases was very short and did not inform John
           how they made their decision. As a result, John has no comfort at all as to how
           the bank might handle the next check he presents.

           ABC Bank decides to begin offering a formal overdraft program. Through a
           variety of techniques, the bank communicates clearly with John and generally
           makes him aware of their decision-making process. When John is next faced
           with making the decision of whether or not to pay the credit card bill, he now
           considers his options. He can continue to pay the bill late as he has on occasion
           in the past, or he can go ahead and write the check to the credit card company
           today and have some comfort that the bank will probably pay it. He would pay
           the bank $20 (their NSF fee) vs. paying the credit card company $36.

       The Informed Consumer Effect

       By communicating with customers, banks that offer formalized overdraft pro-
       tection programs achieve the “Informed Consumer Effect,” helping participants
       to make an informed decision on how to utilize this service, should the need
       arise. Because John is given some comfort on how his check will be handled,
       he shifts a fee from the credit card company to the bank and pays less in fees.

       Just how does a bank communicate with a customer? This is an area where
       bankers should proceed with caution. A non-recommended method of commu-
       nicating with customers is to market the service aggressively. A few banks put
       up billboards, take out radio ads, and do regular monthly statement stuffers.
       But as the Office of the Comptroller of the Currency pointed out in Interpretive
       Letter 914 (IL914), this could have the appearance that the bank is attempting
       to entice customers to overdraw their accounts, an activity that at best is
       “frowned upon” by consumer groups, and at worst could be considered an
       unsafe practice. At a typical bank, 60% to 70% of the customer base never (or
       rarely) present an insufficient item, and marketing to them is wasteful.



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       However, an efficient, fair, and consistent process could also be considered an
       opportunity for clear communication to customers – a way to enhance a cus-
       tomer relationship. Customers are often confused by the NSF decision-making
       process in those banks that do not have a formalized program, since there is
       often inconsistency in payment of NSF items. Banks that offer a formalized
       overdraft program have the opportunity to establish consistent guidelines for
       paying NSF items and to inform and educate customers who use the service.



       WHY ARE MORE BANKERS CONSIDERING
       FORMALIZED OVERDRAFT PROTECTION?

       As of January 2003, the Consumer Federation of America estimated that more
       than 1,000 banks in the United States use formalized overdraft protection pro-
       grams, and that number is steadily growing.4 Why are more bankers consider-
       ing these programs?

       1. A New Definition of Customer Service
       One of the most common complaints by consumer groups about overdraft pro-
       tection services is that banks with these programs are providing “bad” customer
       service. Some consumer groups equate the paying of overdrafts with “payday”
       lending. They believe that paying an overdraft item is equivalent to taking
       advantage of an uninformed customer.

       However, this seems to be an oversimplification of a much broader issue.
       Think about it from the perspective of your customers – would they consider it
       better customer service if the bank paid their check or returned it?

       Bank employees also benefit from a consistent overdraft program that offers
       them guidance on how and when to cover overdraft items. Since they can now
       define their overdraft policy and explain it to the customer, they can offer bet-
       ter customer service. Defined overdraft program guidelines eliminate banker
       and customer confusion and lead to improved customer service.

       2. A Way to Avoid Discriminatory Practices
       Organized overdraft protection programs formalize a process that has been han-


       4
           Consumer Federation of America, “Bounce Protection,” Section 2.

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       dled informally and in a discretionary manner in the past, making it more equi-
       table and consistent. In general, banks have historically paid items for some
       customers and not paid them for others, based mostly on a variety of factors,
       including account history and the relationships the customer has with the per-
       sonal bankers or CSRs working in the branch. By using overdraft protection
       software and more efficient automation, the banks that implement these pro-
       grams state that they are attempting to treat all customers more fairly.

       3. Increased Opportunity
       When banks formalize their programs and disclose them, they learn that some
       customers find this to be a valuable service. These customers choose to write a
       check a few days before a deposit and pay the NSF fee rather than pay a late fee
       to the check recipient. They choose the bank option because the costs are gener-
       ally lower than those imposed by the merchant or other payee, and it presents
       less of a hassle. Financial institutions that formalize their process and disclose it
       to customers allow their customers to make informed decisions for themselves.



       COMMON CONCERNS

       Bankers need to address a number of concerns before they decide to implement
       such a formal overdraft program. Questions raised by the media and con-
       sumers groups alike have spawned a variety of concerns.

       Perceptions of “Abusing” the Customer

       Media and consumer groups have voiced concerns that some overdraft protec-
       tion programs are by nature deceptive and designed to take advantage of con-
       sumers. Other media reports discuss cases in which banks have allowed cus-
       tomers to overdraw with their ATM or debit card, at either the ATM or the
       point of sale, without notification that they were overdrawing the account or
       that they would be charged a fee. (Reg DD requires fee disclosure at account
       opening and on periodic statements.)

       It is interesting to note that in most overdraft discussions the media and con-
       sumer groups often gloss over individual consumer responsibility. Banks only
       charge these fees to consumers that present NSF items. Overdrawing is a dis-


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       cretionary activity and is completely avoidable, much like the decision to use a
       foreign ATM. In both cases, the service provided is merely responding to cus-
       tomer need and behavior.

       Although the ultimate responsibility lies with the consumer, situations may
       arise in which a customer becomes overextended and is unable to pay back the
       overdrawn amount and subsequent fees. As customer service organizations,
       banks should be aware of these situations and work with the customer to
       resolve the issue. Any program allowing chronic overdrafts that put the cus-
       tomer in difficult financial circumstances may seem to take advantage of a cus-
       tomer and, of course, should be avoided. Banks should communicate clearly
       and frequently with their customers regarding the status of their account bal-
       ance. The bank may then offer the overextended customer a repayment plan,
       perhaps at a low interest rate, or reduced NSF fees to help the customer recover
       from the situation. The checking account could be left open and available, as
       long as the customer meets their repayment obligations.

       Appearance of Violating Credit Laws

       One recent article charged that banks are “skirting” credit laws when they pay
       overdrafts. The reasoning applied was that an overdraft is a short-term loan
       and the NSF fee imposed is interest. Some consumer advocates have stated that
       overdrafts amount to loans with very high interest rates, sometimes exceeding
       1,000%.

       These allegations ignore the fact that many banks charge the same fee whether
       the item is paid or returned, and there is no differential for overdrawing the
       account. More specifically, at most banks customers do not pay any additional
       fee for overdrawing their accounts – they are only charged a fee for presenting
       an insufficient item and the bank subsequently handling the item.

       Credit laws apply when a bank extends credit to a consumer. According to the
       Truth in Lending Act, 15 USC 1601 et seq. (TILA) and its implementing
       Federal Reserve Regulation Z, 12 CFR Part 226, “Credit means the right to
       defer payment of a debt or to incur debt and defer its payment.” The bank
       does not grant a “right” to overdraw; it is a discretionary activity on the part of



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       the bank. Credit laws have not applied to bank overdraft fees in the past, and
       it is unlikely that they will in the future.

       As stated in the American Bankers Association letter from ABA Chairman-Elect
       Ken Fergeson, dated March 21, 2003, “Overdraft protection has been around
       for a long time, but has evolved over the years. Under automated bounce pro-
       tection systems that are now gaining in popularity, banks disclose that they may
       pay overdrafts up to a limit—usually between $100 and $500, depending on
       the customer. The feature is typically available to all those eligible to open an
       account. There is no creditworthiness test as there is for an overdraft line of
       credit. A flat fee is charged for the overdraft, regardless of the amount.”

       Several bankers have shown hesitancy toward overdraft protection programs
       because of potential changes to Regulation Z (Truth in Lending), which would
       cause an overdraft to be considered a loan and related charges to be interest for
       APR purposes. For decades, under the terms of Regulation Z, regulators have
       not generally considered overdraft fees to be a loan when the item is paid. Prior
       history with other regulations has shown that the Federal Reserve changes
       them only after careful consideration.

       Moreover, any change in regulation would likely impact the payment of all NSF
       items, not just those items at banks with formal overdraft programs. It would
       be a very detrimental change to consumers for the regulators to alter regula-
       tions in such a manner that banks could effectively no longer pay any over-
       drafts.

       Incurring Too Much Risk

       It may appear upon initial review that paying overdrafts would increase the
       overall risk levels of a bank. After all, the customer is typically not required to
       complete any type of application for the service. Most banks do not subject
       customers to a formal underwriting process prior to allowing the customer to
       overdraw their account. The bank typically does not obtain credit scores.




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       Prudent bankers must approach an overdraft program as they would any other
       new product or service offering. Analysis of the particular program must be
       performed with the bank’s overall risk tolerance in mind. Acceptable levels of
       risk must be determined prior to entering any program and monitored after
       implementation.

       Most bankers who have implemented a formal overdraft program indicate that
       charge-offs do, in fact, increase. However, they also indicate that the overall
       level of charge-offs is within acceptable levels of risk and the benefits of the
       overdraft program outweigh the increase in charge-offs.



       ADDRESSING THE REGULATORY CONCERNS

       Regulators have expressed concerns when reviewing overdraft protection pro-
       grams, and all bankers considering this service should take care to address
       them. Some of the main issues are delineated in OCC Interpretive Letter 914
       and further defined in the ABA letter dated March 21, 2003, from Ken
       Fergeson, ABA Chairman-Elect. IL914 outlines three types of regulatory con-
       cerns with respect to one particular overdraft protection program. They
       include: 1) Compliance Issues, 2) Supervisory Concerns, and 3) Policy Issues.
       We recommend studying IL914 in depth and reviewing the concerns of the
       OCC with legal counsel. However, there are basic steps bankers can take to be
       proactive in addressing these regulatory concerns.

       Define the Process Specifically.
       For many years banks have paid checks on an inconsistent basis, often times
       lacking universal guidelines that employees could follow. Often, banks did not
       have a formal policy in place to guide bankers on how and when to cover an
       overdraft. Defining the process specifically will help to alleviate compliance
       concerns. Due to simple human nature, when paying or returning an overdraft
       using only personal discretion as a guide, inconsistencies will result. By apply-
       ing consistent criteria across the board, the entire process should become con-
       sistently implemented with all customers.




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       Use Detailed Reporting and Tracking.
       As part of the bank’s formal process, the bank should use detailed reporting and
       tracking of accounts in the overdraft protection program. This will ensure that
       all levels of management remain apprised of the program, and that potential
       abusers of the service can be spotted and addressed appropriately, including
       being removed from the program.

       Avoid Statements that Seem Like Commitments.
       In all written communication to customers, be certain to stay away from state-
       ments that sound like absolute commitments to pay overdrafts (e.g., “never
       incur a merchant charge again”). The Office of the Comptroller of the
       Currency in its Interpretive Letter 914 (IL914) points out that the Federal
       Trade Commission Act prohibits deceptive acts or practices, including represen-
       tations or omissions that are likely to mislead reasonable consumers. Carefully
       word all the bank’s customer communications to explain the overdraft process
       clearly and directly. Be sure to acknowledge that the process to pay NSFs is
       completely discretionary and that all overdrafts will not be paid automatically.

       Avoid “Enticing” Customers to Begin Presenting NSFs.
       Studies have shown that most customers do not overdraw their accounts, nor
       do they want to. In 2002, Raddon Financial Group estimated that nearly 60%
       of customers have little or no interest in NSF services. Heavy marketing of an
       overdraft protection program could give the appearance that the bank is
       attempting to entice customers who currently do not overdraw accounts to
       begin overdrawing them. Aggressive marketing can potentially backfire, even
       though the intent may simply be to inform the customer of a helpful, new serv-
       ice that is now available. Instead, establish sound, customer-service response-
       oriented policies for customers who overdraw their accounts. Above all, do not
       state that overdrawing is an acceptable practice; offer alternatives. The bank
       should also provide appropriate disclosures at the ATM and teller window if
       customers are allowed to overdraw their accounts at those channels.

       Use the Same Fee for Both Paying and Returning.
       One of the “tests” offered in IL914 for determining if an overdraft fee is a
       finance charge or not, as stated under Regulation Z, is whether an NSF fee is the
       same regardless of whether a check is paid or returned. By charging the same
       fee in both instances, the fee is unlikely to be considered a “finance charge.”




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       Utilize Effective Risk Management Techniques.
       Banks that monitor customer behavior can contact those customers who exhibit
       excessive or abusive usage and inform them of bank programs that can help
       them manage their account balances. This practice should identify customers
       who show a serious lack of account management so that bank management can
       make decisions on the customer’s continued involvement in the bank’s over-
       draft program.

       RECOMMENDED BEST PRACTICE
       “DO’S AND DON’TS”

       In addition to taking proactive steps to address regulatory concerns, adhering
       to certain “best practices” will help ensure that an overdraft protection program
       takes the right approach. The main best practices that all bankers should know
       include:

       Best Practice “Do’s”

       1. Do inform customers that the bank has other ways to handle over-
       drafts, such as lines of credit and automatic transfers. Clear communica-
       tion will give customers all the information they need to make an informed
       decision. Let your customers know that the bank has other, potentially less
       expensive ways to handle overdrafts.

       2. Do proactively offer an “opt-out” giving the customers a choice. Some
       customers may not want to have their items paid, and they should be given this
       choice. By sending each qualified customer a letter with an opt-out clause
       before the program is implemented, bankers are ensuring that all customers are
       duly informed and are aware of their alternatives.

       3. Do monitor customer activity, and don’t let customers abuse the service.
       Utilize software tools to generate detailed reports that will allow the bank to
       track customers who may be abusing the privilege. Consider contacting and
       notifying frequent overdrafters of the cost of these services, and suggest a meet-
       ing with bank officers to consider other alternatives to overdrafting.




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       4. Do apply good risk management techniques, using software to monitor
       usage. IL914 notes that overdraft protection programs could increase a bank’s
       credit risk profile (e.g., higher delinquency and loss rates) by extending credit
       to borrowers who may not have normally qualified for payment of overdrafts or
       overdraft protection. By utilizing software tools with robust reporting capabili-
       ties, you should be able to minimize this risk and manage it accordingly.

       5. Do communicate with customers often, using multiple channels (i.e.,
       letters, phone calls, email). It is imperative that bankers notify customers as
       overdrafts are presented and then continue to communicate with the customer
       while they are overdrawn. As ABA Senior Federal Counsel Nessa Feddis states
       in an April 2003 ABA Banking Journal article, “A consumer understanding of
       bank practices in this matter is absolutely critical to avoid charges of unfair
       play.”5 Communication and education of customers will help to dispel the
       mystery of the process and enhance the overall customer relationship as well.

       Best Practice “Don’ts”

       1. Don’t use aggressive marketing. One of the biggest red flags for regulators
       and consumer groups alike is a program that tries to achieve increased revenue
       through aggressive marketing techniques. This kind of customer communica-
       tion also makes it seem as if the bank is attempting to encourage customers
       who have not presented NSFs to begin presenting them.

       2. Don’t step over the line from a compliance perspective. Regulators may
       question programs that give the wrong impression about the scope of protec-
       tion offered by the program and in turn oversell its benefits. When communi-
       cating with customers, it is important to use clear, precise, and accurate lan-
       guage that does not attempt to oversell the customer. Keep in mind that this
       service is discretionary, and therefore avoid promises or words that sound like
       commitments to customers. Claims of “no more charges from retailers for
       insufficient checks,” “make a mistake – you’re covered,” and “write a check or
       use an ATM for more than you have in the bank – you’re covered” are overly
       broad statements, given the limitations of these programs.




                      5
                          Feddis, 40.

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       3. Don’t allow customers the opportunity to access funds that will put
       their account into a negative balance at the ATM, through POS, or teller
       window without customer knowledge. Banks should communicate clearly
       with their customers and disclose all fees and charges associated with
       transactions that will result in an overdraft status on the account.
       If bankers make the decision to allow customers to overdraw their account bal-
       ance at the ATM, through POS, or teller window, if technically feasible the bank
       should inform the customer at the time of the transaction that they will incur
       an additional fee for overdrawing under the circumstances. If this is not tech-
       nically feasible, the bank should place notices at the ATM or have a policy in
       place that does not allow the customer to overdraw the account at the ATM.

       Banks should not mislead their customers as to the actual balance in their
       account and they should clearly present balances to their customers in a format
       that is easy to understand. For example, if the overdraft limit is included in an
       “available balance,” the text on the ATM screen and receipt should specifically
       state that the balance includes the overdraft limit. Mistakes are easily made if
       this information is not communicated to the customer clearly at the time of the
       transaction. Additionally, banks should consider waiving any initial NSF fees
       for customers who inadvertently overdrew their checking account due to any
       type of confusion at electronic channels.

       4. Don’t leave out effective risk management. Given the loss history of bank
       overdraft programs, bank management should develop reasonable loss recogni-
       tion guidelines and establish loan loss reserve methodologies to ensure timely
       loss recognition and estimated loss coverage. This is imperative. Strict loss-
       recognition programs and tracking are recommended.




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       CONCLUDING REMARKS

       With the wide range of opinions and heartfelt emotions concerning overdraft
       programs, it is no wonder that many inside and outside the industry question
       either the practice or the methods of overdraft services. In sorting through the
       facts and opinions, history can be an excellent guide. In the May 20, 1961,
       issue of Business Week, the headline read, “With the Fed showing no signs of
       easing its regulations, banks are doubting the wisdom of offering certificates of
       deposit.”6 Believe it or not, this statement was made concerning negotiable
       CDs!

       Even the most pedestrian of bank products today, certificates of deposit, were
       once the subject of much debate and concern. Consumer needs often are ahead
       of regulatory management and public policy. Such may be the case with for-
       malized overdraft programs. Bankers, however, must carefully consider all
       sides of the formalized overdraft option to make the best decision for their
       banks.




                      6
                          “Some Second Thoughts on CDs,” Business Week, 20 May 1961, 138.


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       APPENDIX
       Letter to Bank CEOs from the ABA Chairman-Elect.

       Date: March 21, 2003
       To: Bank CEOs
       From: Ken Fergeson, ABA Chairman-Elect



       Hundreds of banks are offering automated bounce protection on checking
       accounts, a new version of bankers’ traditional practice of paying overdrafts.
       Many other banks are considering it. That’s why I’m writing. As ABA’s
       Chairman-Elect and a community banker, I’m hearing a lot of concern about
       this product and the consequences of offering and promoting it.

       All bankers want a fair return. But bankers also have a responsibility to treat
       customers fairly and provide them with clear, conspicuous disclosures. One
       misleading phrase or questionable ad can destroy your customers’ trust in a
       heartbeat, an awfully high price to pay. As one compliance officer wrote about
       paying interest on investable balances, “It’s cute. It’s legal. Don’t do it!” When
       put under a spotlight, that practice led Congress to enact the Truth-in-Savings
       Act and the Fed to issue Reg DD. That example could be a preview of coming
       attractions if bankers don’t look carefully before they leap into this.

       Consumers like overdraft protection. It can save them returned-check fees
       from creditors or merchants and avoid tarnishing their credit rating in credit
       bureaus and databases. But some of these products have drawn fire from the
       regulators and in the media—and litigation won’t be far behind, as customers
       start complaining about unfair treatment.

       Overdraft protection has been around for a long time, but has evolved over the
       years. Under automated bounce protection systems that are now gaining in
       popularity, banks disclose that they may pay overdrafts up to a limit—usually
       between $100 and $500, depending on the customer. The feature is typically
       available to all those eligible to open an account. There is no creditworthiness
       test as there is for an overdraft line of credit. A flat fee is charged for the over-
       draft, regardless of the amount.



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       Before you offer a bounce protection product, decide if you’d want to defend
       the one you’re considering in your local newspaper or to your regulator. To
       protect yourself and your institution’s reputation, you should, at a minimum:

         • Disclose, disclose, disclose. Disclose costs and terms in the agreement fully
           and conspicuously, including treatment of debit card overdrafts. And
           disclose charges prominently in statements.

         • Make clear that the bank is not promising to pay checks, even if the
           consumer meets the criteria for paying an overdraft.

         • Do not encourage overdrafts in your marketing materials, advertising or
           communications. Some customers have bounced checks because, on
           balance inquiries, their bank adds the amount of their overdraft protection
           to their true balance, leading them to believe they have more than they do.
           Some bank messages encourage them to use the product anytime.

         • Monitor the account for frequent use of the service. Customers may not
           understand how to use it appropriately.

       All of these efforts may still not be enough. Done carefully, automated bounce
       protection programs can be good for your customers and for the banks. But
       without understanding how your program will be seen and judged in your
       community, in the agencies and in court, it could become your worst night-
       mare. If you offer one, proceed with caution and make sure you do it right.

       If you have any questions or concerns, please contact ABA Regulatory Director
       Jim McLaughlin, at 1-800-BANKERS.




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